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                                                    UNITED STATES DISTRICT COURT
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                                                          DISTRICT OF NEVADA
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                                                                      2:09-CR-262 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                    Plaintiff,
                10      v.
                11
                        ALFONSO RIVERA-AVALOS, et al.,
                12
                                       Defendants.
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                14                                                 ORDER
                15           Presently before the court is the matter of United States v. Rivera-Avalos, et al., case no.
                16    2:09-cr-262-JCM-GWF.
                17           Defendant Adrian Fuentes-Garcia filed a motion to vacate under 28 U.S.C. § 2255, which
                18    this court denied as untimely. (Doc. # 265). The Ninth Circuit reversed and remanded with
                19    instructions to hold an evidentiary hearing. (See memorandum opinion, doc. # 326).
                20           Accordingly, an evidentiary hearing is set for Tuesday, September 16, 2014 at 10:00 a.m.
                21    in courtroom 6A. The parties are instructed to file any information they wish the court to consider
                22    at the hearing no later than September 9, 2014. The government is ordered to file the appropriate
                23    writ in a timely manner to ensure the petitioner’s presence at the hearing.
                24    IT IS SO ORDERED.
                25           DATED July 16, 2014.
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                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
